 1                                                                      The Honorable Karen A. Overstreet
                                                                                                Chapter 11
 2
                                                                        Hearing Location: Seattle, Rm 7206
 3                                                                            Hearing Date: March 4, 2011
                                                                                  Hearing Time: 9:30 a.m.
 4                                                                       Response Date: February 25, 2011
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10                          UNITED STATES BANKRUPTCY COURT
11                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

12    In re
13                                                     Case No. 10-18668-KAO
      FREDERICK D. BERG,
14                                                     TRUSTEE’S MOTION FOR APPROVAL TO
                               Debtor.                 SELL DEBTOR’S ART
15
16
                                           I.      RELIEF REQUESTED
17
               Diana K. Carey (“Trustee”), Chapter 11 Trustee for the Debtor, through her undersigned
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     counsel, pursuant to 11 U.S.C. §§ 105(a) and 363, moves the Court for an Order approving the sale of
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     two pieces of art work back to the artist, Cassandria Blackmore. This motion is supported by the
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     Declaration of Diana K. Carey (“Carey Decl.”).
21
                                         II.     STATEMENT OF FACTS
22
23             1.       On July 27, 2010, Debtor Frederick D. Berg filed a petition under Chapter 11 of the

24   United States Bankruptcy Code.

25             2.       On August 19, 2010, an order was entered appointing Trustee over the Bankruptcy

26   Estate.

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                                                                                                   Law Offices
                                                                           KARR T UTTLE CAMPBELL
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                                                                                         A Professional Service Corporation
     TRUSTEE’S MOTION TO SELL DEBTOR’S ART - 1
                                                                          1201 Third Avenue, Suite 2900, Seattle, Washington 98101-3028
     #787174 v1 / 40572-001                                                     Telephone (206) 223-1313, Facsimile (206) 682-7100



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 1             3.       Since appointment, the Trustee and her advisors have diligently searched for assets of
 2   the Bankruptcy Estate.        Through these efforts, the Trustee has possession of two paintings by
 3   Cassandria Blackmore, “Cotton Candy Girl,”and “Mardi Gras Girl.”(collectively the “Art”).
 4             4.       After being unable to locate a gallery that would take the Art on commission, the
 5
     Trustee contacted Ms. Blackmore who offered to repurchase the Art for $3,500, payable upon court
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     approval of such sale. Based on insurance values of the Art, the Trustee feels the price offered is a fair
 7
 8   one.

 9             5.       The Trustee believes that none of the Art is subject to a lien, claim or encumbrance.
10                                        III.    STATEMENT OF ISSUES
11             Whether the Court should enter an Order permitting the Trustee to sell the Art free and clear
12
     of liens pursuant to 11 U.S.C. § 363?
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14                                               IV.     AUTHORITY

15             This Motion is brought pursuant to Fed. R. Bankr. P. 9013, Local Rule 9013, 11 U.S.C. § 363

16   and 11 U.S.C. § 105. Bankruptcy Code § 363(b) generally provides that the Trustee, after notice and
17   a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the
18   Bankruptcy Estate. § 363(f) provides that the Trustee may sell property under subsection (b) free and
19   clear of interests if (1) applicable non-bankruptcy law permits sale of such property free and clear of
20   such interest; (2) such entity consents; and (3) such interest is a lien and the price at which such
21   property is to be sold is greater than the aggregate value of the liens on such property. Based on a
22   diligent review of Berg’s records, the Trustee believes that none of the Art is subject to any liens,
23   claims, or encumbrances.
24             Bankruptcy Code § 105(a) permits the Court to enter any order that is necessary or
25   appropriate for the administration of the estate. The Trustee believes that an order of the Court
26   approving the disposition of the Art as contemplated herein is necessary for the administration of the
27   estate.
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                                                                                                       Law Offices
                                                                               KARR T UTTLE CAMPBELL
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 1            The Trustee proposes to use the proceeds from the sales contemplated hereby in the normal
 2   course or as otherwise approved by the Court.
 3                                            V.      CONCLUSION
 4            For the reasons stated above, the Trustee respectfully requests that the Court enter an order,
 5
     (i) approving the sale of the Art as contemplated herein, and (ii) declaring that the sale is free and clear
 6
     of all liens, claims, and encumbrances (if any) and that such liens, claims, and encumbrances (if any),
 7
 8   shall attach with the same priority as they currently exist to the net proceeds received by the Trustee
 9   from the purchaser of the Art.
10
              DATED this 4th day of February, 2011.
11
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13                                                  KARR TUTTLE CAMPBELL
14
15
                                                    By: /s/ Stephen S. McKay
16                                                      George S. Treperinas, WSBA #15434
17                                                      Stephen S. McKay, WSBA #42046
                                                        Attorneys for Diana K. Carey, Chapter 11 Trustee
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